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United States District Court
District of Massachusetts

CANDITA POTTS,

Plaintiff,
Civil Action No.

Vv. 24—-11214-NMG

THE RITZ-CARLTON HOTEL COMPANY,
LLC,

Defendant.

MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is plaintiff’s motion to vacate
the dismissal of this action (Docket No. 27). The Court
previously dismissed the case without prejudice due to its lack
of subject matter jurisdiction. Plaintiff now seeks to reopen
the case and file an amended complaint which, she claims, cures
the deficiencies in her original pleading. The proposed amended
complaint does not do so. The motion will therefore be denied.

Plaintiff’s original complaint did not satisfy her burden
of demonstrating that this Court has subject matter jurisdiction

over the controversy. See PSC 2000 LP v. Romulus Telecomms.,

Inc., 148 F.3d 32, 35 (lst Cir. 1998) (“It is black-letter law

that jurisdiction must be apparent from the face of the

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plaintiff’s pleading.”). Plaintiff asserted that the Court was
sitting in diversity but failed to establish complete diversity
of citizenship between the parties, as required under 28 U.S.C.
§ 1332. Specifically, plaintiff identified a state of
incorporation and principal place of business for defendant The
Ritz-Carlton Hotel Company, LLC (“the Ritz-Carlton” or
“defendant”). However, as the name indicates, defendant is not
a corporation, but rather a limited liability company (“LLC”).
Unlike a corporation, the citizenship of an LLC is not
determined by a state of “incorporation” (of which there is
none) or by the principal place of business but rather by the

domiciles of its individual members. Pramco, LLC v. San Juan Bay

Marina, Inc., 435 F.3d 51, 54 (lst Cir. 2006).

The proposed amended complaint now identifies defendant’s
members, four of which are corporations and one of which is
limited partnership. It also identifies the states of which
each member is a “resident.” Those changes alone, however, do
not cure the jurisdictional deficiency.

For defendant’s corporate members, mere allegations of
“residency” are not sufficient to establish citizenship, even if
the term is interpreted to indicate a member’s “principal place
of business.” A complaint must allege both the state of

incorporation and the principal place of business of a

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corporation to establish its domicile. Celli v. Greenwich Ins.

Co., 478 F. Supp. 3d 93, 95-96 (“A corporation’s citizenship,
for diversity jurisdiction purposes, is both the state where it
is incorporated and the state where it has its principal place

of business.”); McGlynn v. Emps. Com. Union Ins. Co. of Am., 386

F. Supp. 774, 777 (D.P.R. 1974) (remarking that a plaintiff
“does not have a choice of alleging the place of incorporation
or the principal place of doing business” to establish corporate
citizenship).

Moreover, the principal place of business of the “member,”
MI Holding, L.P. (“MI Holding”) has no bearing on its
citizenship. MI Holding, like the Ritz-Carlton, is an
unincorporated entity. As such, plaintiff must conduct the same
citizenship analysis as for defendant, namely, identifying the
members of MI Holding and their respective citizenships. See

D.B. Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661

F.3d 124, 126 (“If even one of [a party’s] members is another
unincorporated entity, the citizenship of each of that member's
members (or partners, as the case may be) must then be
considered.”).

This Court has already afforded plaintiff's counsel two
opportunities to cure the deficiencies in the complaint. He has

failed to do so both times. While a district court should

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“freely give leave [to file an amended complaint] when justice
so requires,” Fed. R. Civ. P. 15(a)(2), that does not require

multiple re-dos. Acosta-Mestre v. Hilton Int'l of Puerto Rico,

Inc., 156 F.3d 49, 51 (lst Cir. 1998). Courts have not
infrequently denied leave to amend and dismissed an action with
prejudice when a party “repeated[ly] faill[s] to cure

deficiencies by amendments previously allowed.” Forman v. Davis,

371 U.S. 178, 182 (1962); see, e.g., Kerr v. City of Attleboro,

No. 23-13045-NMG, 2024 WL 4859013, at *2 (D. Mass. Nov. 20,

2024); Tr. Safe Pay, LLC v. Dynamic Diet, LLC, No. 17-10166-MPK,

2018 WL 3614799, at *8 & n.4 (D. Mass. July 27, 2018); U.S. ex

rel. Gagne v. City of Worcester, No. 06-40241-FDS, 2008 WL

2510143, at *5 n.5 (D. Mass. June 20, 2008), aff'd 565 F.3d 40

(lst Cir. 2009); Suna v. Bailey Corp., No. CV-94-273-M, 1995 WL

806824, at *S (D.N.H. Dec. 29, 1995), aff'd 107 F.3d 64, 66 (1st
Cir. 1997).

This Court will grant plaintiff’s counsel one final
opportunity to amend the complaint. If, however, counsel fails
to follow this Court’s explicit directions, the action will be
dismissed with prejudice. The Court is obligated to exercise
its case management function responsibly, not to “allow
plaintiffs an endless number of trips to the well,” Aponte-

Torres v. Univ. of Puerto Rico, 445 F.3d 50, 58 (lst Cir. 2006),

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or to educate counsel on the basic rules of civil procedure,

Rowayton Venture Grp. LLC v. McCarthy, No. 19-12240-FDS, 2020 WL

6136377, at *3 (D. Mass. Oct. 19, 2020) (the Court does not sit
as a “sort of ‘super-lawyer,” to correct counsel’s inability to

establish jurisdiction).

ORDER
For the reasons set forth above, plaintiff’s motion
(Docket No. 27), which the Court treats as a motion for leave to

amend, is DENIED without prejudice.

So ordered.

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Nathaniel M. Gorfon
United States District Judge

Dated: April2§, 2025
